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 8
 9                        UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA

11
12   RON SARFATY,                             Case No.:
13
                 Plaintiff,
                                              COMPLAINT FOR:
14
        vs.
15                              DENIAL OF CIVIL RIGHTS AND
                                ACCESS TO PUBLIC FACILITIES
16   CANOGA HOTEL CORPORATION;
                                TO PHYSICALLY DISABLED
     DOUGLAS EMMETT REALTY FUND
17                              PERSONS IN VIOLATION OF THE
     2002, LLC; and DOES 1-10,
18                              AMERICANS WITH DISABILITIES
                                ACT OF 1990, (42 U.S.C. §12101, et
19               Defendants.
                                seq.) AND THE UNRUH CIVIL
20                              RIGHTS ACT, (CALIFORNIA CIVIL
                                CODE §51, et seq.)
21
                                              DEMAND FOR JURY TRIAL
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                                       COMPLAINT - 1
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 1        “[T]he continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on an
 2
          equal basis and to pursue those opportunities for which our free society
 3        is justifiably famous.” 42 U.S.C. §12101(a)(8).
 4
          “It is the policy of this state to encourage and enable individuals with a
 5        disability to participate fully in the social and economic life of the state ...”
 6        California Government Code §19230(a).

 7
           Plaintiff RON SARFATY (hereinafter referred to as “Plaintiff”) complains
 8
     of CANOGA HOTEL CORPORATION; DOUGLAS EMMETT REALTY FUND
 9
     2002, LLC; and DOES 1-10, (each, individually a “Defendant” and collectively
10
     “Defendants”) and alleges as follows:
11
                                        I.      PARTIES
12
           1.     Plaintiff RON SARFATY is a California resident and a qualified,
13
     permanently physically disabled person. He is a stroke survivor and suffers from
14
     degenerative spinal disc disease. He has a limited ability to walk and uses a
15
     wheelchair for mobility. He drives a van specially adapted for him to drive
16
     independently and exits his vehicle from the back. His vehicle needs to open
17
     completely in the back to allow him to transfer in and out of his vehicle. Plaintiff
18
     prides himself on his independence and on empowering and advocating for other
19
     disabled persons to be independent.
20
           2.     Defendants CANOGA HOTEL CORPORATION, a California
21
     corporation doing business as HILTON WOODLAND HILLS; DOUGLAS
22
     EMMETT REALTY FUND 2002, LLC, a Delaware limited liability company; and
23
     DOES 1-10, are and were the owners, operators, lessors and/or lessees of the
24
     subject business, property, and facility at all times relevant in this Complaint.
25
           3.     Plaintiff does not know the true names of Defendants, their business
26
     capacities, their ownership connection to the property and business, or their
27
     relative responsibilities in causing the access violations herein complained of, and
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                                             COMPLAINT - 2
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 1   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
 2   informed and believes that each of the Defendants herein, including DOES 1
 3   through 10, inclusive, is responsible in some capacity for the events herein alleged,
 4   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
 5   amend when the true names, capacities, connections, and responsibilities of the
 6   Defendants and Does 1 through 10, inclusive, are ascertained.
 7            4.   Defendants own and owned the property located at 6360 Canoga Ave,
 8   Woodland Hills, CA 91367 (“Subject Property”) at all relevant times.
 9            5.   Defendants operate and operated a hotel doing business as HILTON
10   WOODLAND HILLS (“hotel”), located at the Subject Property, at all relevant
11   times.
12            6.   Plaintiff alleges that the Defendants have been and are the owners,
13   franchisees, lessees, general partners, limited partners, agents, trustees, employees,
14   subsidiaries, partner companies and/or joint ventures of each of the other
15   Defendants, and performed all acts and omissions stated herein within the course
16   and scope of such relationships causing the damages complained of herein.
17                           II.    JURISDICTION AND VENUE
18            7.   This Court has subject matter jurisdiction over this action pursuant to
19   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
20   Disabilities Act of 1990, U.S.C. §12101, et seq.
21            8.   Pursuant to supplemental jurisdiction, an attendant and related cause
22   of action, arising out of the same nucleus of operative facts and arising out of the
23   same transactions, is also brought under California’s Unruh Civil Rights Act,
24   which expressly incorporates the Americans with Disabilities Act.
25            9.   Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
26   and is founded on the fact that the real property which is the subject of this action
27   is located in this district and that Plaintiff’s causes of action arose in this district.
28                                         III.   FACTS

                                            COMPLAINT - 3
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 1         10.    Plaintiff uses a wheelchair for mobility.
 2         11.    Defendants’ business is open to the public, a place of public
 3   accommodation, and a business establishment.
 4         12.    Plaintiff is a customer of the Hilton Hotel. Plaintiff went to the hotel
 5   multiple times per day from March 9, 2024, to March 14, 2025. He paid for a few
 6   family members to stay at the hotel for a family visit. He also went to the hotel
 7   twice daily, and on a couple of days he was there more often, while his family was
 8   staying at the hotel. He would come to pick them up and drop them off, generally
 9   two to three times each day of their stay.
10         13.    Unfortunately, Plaintiff’s equal access to the hotel was denied in
11   several ways. Defendants offer no accessible means of parking, nor do they offer
12   an accessible transaction counter for checking in and paying the bill. Plaintiff
13   personally experienced frustration and difficulty due to these barriers, as detailed
14   herein.
15         14.    During Plaintiff’s visits, Defendants did not offer persons with
16   disabilities equivalent facilities, privileges, advantages, and accommodations
17   offered to other persons.
18         15.    Plaintiff encountered barriers that interfered with and denied Plaintiff
19   the ability to use and enjoy the goods, services, privileges, advantages, and
20   accommodations offered by Defendants at the Subject Property.
21         16.    These barriers violate one or more standards of the Americans with
22   Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
23   CBC”).
24         17.    Parking for patrons visiting the Subject Property is among the
25   facilities, privileges, advantages, and accommodations offered by Defendants.
26         18.    According to the U.S. Department of Justice, “a public
27   accommodation’s first priority should be to enable individuals with disabilities to
28   physically enter its facility. This priority on ‘getting through the door’ recognizes

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 1   that providing physical access to a facility from public sidewalks, public
 2   transportation, or parking is generally preferable to any alternative arrangements in
 3   terms of both business efficiency and the dignity of individuals with disabilities.”
 4   ADA Title III Technical Assistance Manual §III-4.4500.
 5         19.    When parking is provided, there must be at least one accessible
 6   parking space designated and marked for disabled persons. Where more than one
 7   parking facility is provided on a site, the number of accessible spaces provided on
 8   the site shall be calculated according to the number of spaces required for each
 9   parking facility. 2010 ADA §502 et seq.; 2010 ADA §208.2; 2022 CBC 11B-502
10   et seq; 2022 CBC 11B-208.2.
11         20.    However, there is no accessible parking for disabled persons at the
12   Subject Property because there are insufficient accessible parking spaces
13   designated for disabled persons and/or the existing ostensibly designated space or
14   spaces are significantly noncompliant with the applicable ADA and CBC
15   standards.
16         21.    Since there is no disabled parking available near the entrance, and the
17   parking garage is valet only, he parked at the green curb area to pick up and drop
18   off his family members and to pay the bill. This area allows a 10-minute limit for
19   check-ins only.
20         22.    On his first and second visits, Plaintiff was told by a valet that he must
21   hand over his keys and utilize the mandatory valet parking. Plaintiff declined to
22   give the valet his keys because his vehicle is specially adapted for him with hand
23   controls and he knew the valets are not trained how to operate the vehicle safely.
24   Plaintiff parked his car in the green zone. The valet told him he was not allowed to
25   park in the green zone. However, under California law, a disabled person can park
26   by a green curb for an unlimited length of time. VEH §22511.5.
27         23.    There is no access from the green curb to the hotel. There is an
28   accessible entry sign above green curb which points to a ramp. The sign at the

                                         COMPLAINT - 5
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 1   ramp says “Handicap Access” and “Do Not Block Ramp.” However, the ramp is
 2   often reduced to 16” clear width due to being blocked by luggage carts. Accessible
 3   routes must have a minimum width of 36 inches. 2010 ADA §403.5.1; 2022 CBC
 4   11-B 403.5.
 5          24.    This “Hadicap Access” sign sums up the problem at this hotel. This
 6   outdated term is degrading to the disabled community and should be updated right
 7   along with the hotel’s architectural barriers.
 8          25.    The hotel also has a parking garage available. However parking is
 9   restricted to “Valet personnel only” and there are multiple “NO PARKING” signs
10   in this area of the garage. This area has a proper accessible height marked as 8’ 2”.
11          26.    However, “Hotel Parking” is directed to an entry with signs restricting
12   height to 7’ 7”. When asked if there were any disabled parking spaces available in
13   the accessible portion of the garage, the valet worker onsite confirmed there are no
14   disabled parking spots available with a clearance above 7’ 7”. This disallows
15   vehicles to open the hatchback area fully. Plaintiff enters and exits from his vehicle
16   through the back, and would be unable to do so if he parked in this inaccessible
17   part of the parking garage. This renders the parking garage fully inaccessible and
18   useless to Plaintiff.
19          27.    There is no ADA compliant parking signage. The signs are located a
20   mere 22 inches above grade making it difficult if not impossible to see the signage
21   from the driver’s seat. There is no “FINE” sign on or with stall signs. ADA 2010
22   §502.6; 2022 CBC 11B-502.6, 2022 CBC 11B-703.7.2.1.

23          28.    The “No Parking” paint is completely missing in the access aisles.

24   ADA 2010 §502.3.3; ADA 2010 §502.6; 2022 CBC 11B-502.3.3; 2022 CBC 11B

25   502.6; 28 C.F.R. §36.211(a); 2022 CBC 11B-108.

26          29.    There is no accessible route in front of the disabled parking spaces.

27   The current clear width is only 23 inches. This means persons using a wheelchair

28   are forced to travel behind parked cars.

                                          COMPLAINT - 6
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 1         30.    There is no sign in a conspicuous place at the entrance to the facility,
 2   or immediately adjacent to on-site accessible parking and visible from each
 3   parking space, stating that vehicles parked in designated accessible spaces not
 4   displaying a disabled placard or license plate will be towed. 2022 CBC 11B-502.8.
 5         31.    Inside the hotel there are two Point of Sale (POS) devices for
 6   customers to use. However, the hotel does not provide an accessible POS device
 7   for customers in wheelchairs like Plaintiff. The POS devices were and are placed
 8   above and away from the edge of the inaccessible portions of the counters. The
 9   POS systems are fixed in place, rotate and tilt, at 53inches above the finished floor.
10   This results in an obstructed high reach without clear floor space beneath equal to
11   or more than the reach depth over the counter and/or a side reach containing an
12   obstruction (the counter), the depth of which is more than ten inches. 2010 ADA
13   §308.2.2; 2022 CBC 11B-308.2.2; 2010 ADA §308.3.1; 2022 CBC 11B-308.3.1;
14   2022 CBC 11B-707.
15         32.    Plaintiff wanted to pay using the point-of-sale device but it was
16   completely out of reach. The employee stated he would do it for him, but Plaintiff
17   did not want to hand his card over and have assistance paying his bill. Eventually
18   he had to hand his card over to the employee, which was frustrating and
19   embarrassing for Plaintiff.
20         33.    Defendants do have an accessible lowered counter off to the side of
21   the main service counter. Unfortunately, this counter has no point-of-sale system
22   available and there are no ISA’s or directional signs to this alternate counter. 2010
23   ADA §216.1; 2010 ADA §703; 2022 CBC 11B- 216.1; 2022 CBC 11B- 703.
24         34.    The photos below show one or more of these violations.
25   //
26   //
27   //
28   //

                                          COMPLAINT - 7
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                                     COMPLAINT - 8
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                                     COMPLAINT - 9
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                                     COMPLAINT - 10
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                                     COMPLAINT - 11
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 1           35.      The barriers existed during Plaintiff’s visit to the Subject Property.
 2    Plaintiff personally encountered these barriers.
 3           36.      These inaccessible conditions and barriers denied Plaintiff full and
 4    equal access and caused him difficulty, discomfort, and embarrassment several
 5    times a day for the six days his relatives were visiting. Because of a lack of
 6    compliant parking in the garage Plaintiff was forced to park in the green zone and
 7    manage the obstructed route to and from the entrance to the hotel. Because of a
 8    lack of trained staff, he was forced to argue and assert his legal rights to refuse
 9    valet service and park his car in the green zone. Because of the lack of a compliant
10    point-of-sale device, he had to suffer the embarrassment of needing assistance to
11    pay his bill.
12           37.      These barriers denied Plaintiff full and equal access due to his
13    disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
14    and embarrassment which patrons who do not use a wheelchair for mobility do not
15    suffer when they access the Subject Property.
16           38.      Plaintiff has Article III standing because he is a regular customer of
17    the hotel. He visited the subject property to pick up and drop off family members
18    during their visit. The Subject Property is conveniently located and in the general
19    area where he lives, shops, goes to medical appointments, visits family and friends,
20    recreates, and does other normal activities in his daily life. Therefore, in addition to
21    his concrete plan to return to the Subject Property to test for ADA and CBC
22    compliance, Plaintiff also intends to return to the Subject Property in the near
23    future, after the accessibility barriers alleged herein have been removed.
24           39.      Plaintiff alleges that Defendants knew that the barriers prevented
25    equal access. Plaintiff further alleges that Defendants had actual or constructive
26    knowledge that the architectural barriers prevented equal access, and that the
27    noncompliance with the Americans with Disabilities Act and Title 24 of the
28    California Building Code regarding accessible features was intentional.

                                             COMPLAINT - 12
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 1              40.   Defendants have obstructed or failed to maintain, in working and
 2    useable conditions, those features necessary to provide ready access to persons
 3    with disabilities. “A public accommodation shall maintain in operable working
 4    condition those features of facilities and equipment that are required to be readily
 5    accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
 6    CBC 11B-108.
 7              41.   The State of California Department of General Servicers, Division of
 8    the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:
 9              Features for accessibility must be permanently functional, unobstructed
                and may not be removed. It is not sufficient to provide features such as
10
                accessible routes, parking, elevators, ramps or signage if those features
11              are not maintained in a manner that enables individuals with disabilities
                to use them.
12
13    DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
14              42.   Defendants have the financial resources to remove these barriers
15    without much expense or difficulty in order to make their property more accessible
16    to their mobility impaired customers. The United States Department of Justice has
17    identified that these types of barriers are readily achievable to remove.
18              43.   To date, Defendants refuse to remove these barriers, in violation of
19    the law, willfully depriving disabled persons including Plaintiff of important civil
20    rights.
21              44.   On information and belief, Plaintiff alleges that the Defendants’
22    failure to remove these barriers was intentional because the barriers are logical and
23    obvious. During all relevant times Defendants had authority, control, and dominion
24    over these conditions and therefore the absence of accessible facilities was not a
25    mishap, but rather an intentional act.
26              45.   The barriers to access are listed above without prejudice to Plaintiff
27    citing additional barriers to equal access by an amended complaint after inspection
28    by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,

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 1    654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
 2    2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
 3    All of these barriers to access render the premises inaccessible to physically
 4    disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff
 5    may encounter when he returns to the premises. All public accommodations must
 6    be brought into compliance with all applicable federal and state accessibility
 7    requirements.
 8                               FIRST CAUSE OF ACTION
 9                 Violation of the Americans With Disabilities Act of 1990
10                                 (42 U.S.C. §12101, et seq.)
11                                  (Against All Defendants)
12          46.    Plaintiff alleges and incorporates by reference, as if fully set forth
13    again herein, each and every allegation contained in all prior paragraphs of this
14    complaint.
15          47.    More than thirty years ago, the 101st United States Congress found
16    that although “physical or mental disabilities in no way diminish a person’s right to
17    fully participate in all aspects of society, yet many people with physical or mental
18    disabilities have been precluded from doing so because of discrimination…in such
19    critical areas as employment, housing, public accommodations, education,
20    transportation, communication, recreation, institutionalization, health services,
21    voting, and access to public services.” 42 U.S.C. §12101(a).
22          48.    In 1990 Congress also found that “the Nation’s proper goals regarding
23    individuals with disabilities are to assure equality of opportunity, full participation,
24    independent living, and economic self-sufficiency for such individuals,” but that
25    “the continuing existence of unfair and unnecessary discrimination and prejudice
26    denies people with disabilities the opportunity to compete on an equal basis and to
27    pursue those opportunities for which our free society is justifiably famous.” 42
28    U.S.C. §12101(a).

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 1          49.    In passing the Americans with Disabilities Act of 1990, which was
 2    signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
 3    “ADA”), Congress stated as its purpose:
 4          “It is the purpose of this Act
 5
            (1) to provide a clear and comprehensive national mandate for the
 6          elimination of discrimination against individuals with disabilities;
 7
            (2) to provide clear, strong, consistent, enforceable standards
 8          addressing discrimination against individuals with disabilities;
 9
            (3) to ensure that the Federal Government plays a central role in
10          enforcing the standards established in this Act on behalf of individuals
11          with disabilities; and

12          (4) to invoke the sweep of congressional authority, including the power
13          to enforce the fourteenth amendment and to regulate commerce, in
            order to address the major areas of discrimination faced day to-day by
14          people with disabilities.”
15
      42 USC §12101(b).
16
17          50.    As part of the ADA, Congress passed “Title III – Public
18    Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
19    seq.). Title III of the ADA prohibits discrimination against any person “on the
20    basis of disability in the full and equal enjoyment of the goods, services, facilities,
21    privileges, advantages, or accommodations of any place of public accommodation
22    by any person who owns, leases (or leases to), or operates a place of public
23    accommodation.” 42 U.S.C. §12182(a).
24          51.    The specific prohibitions against discrimination include, inter alia, the
25    following:
26       • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
           shall be discriminatory to afford an individual or class of individuals,
27         on the basis of a disability or disabilities of such individual or class,
28         directly, or through contractual, licensing, or other arrangements, with

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 1          the opportunity to participate in or benefit from a good, service, facility,
            privilege, advantage, or accommodation that is not equal to that
 2
            afforded to other individuals.”
 3
 4       • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
           modifications in policies, practices, or procedures when such
 5         modifications are necessary to afford such goods, services, facilities,
 6         privileges, advantages, or accommodations to individuals with
           disabilities...;”
 7
 8       • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
           necessary to ensure that no individual with a disability is excluded,
 9         denied service, segregated, or otherwise treated differently than other
10         individuals because of the absence of auxiliary aids and services...;”
11       • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
12         barriers, and communication barriers that are structural in nature, in
           existing facilities... where such removal is readily achievable;”
13
14       • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
           the removal of a barrier under clause (iv) is not readily achievable, a
15
           failure to make such goods, services, facilities, privileges, advantages,
16         or accommodations available through alternative methods if such
17         methods are readily achievable.”

18
            52.    Plaintiff is a qualified individual with a disability as defined in the
19
      Rehabilitation Act and in the Americans with Disabilities Act of 1990.
20
            53.    The acts and omissions of Defendants set forth herein were in
21
      violation of Plaintiff’s rights under the ADA and the regulations promulgated
22
      thereunder, 28 C.F.R. Part 36 et seq.
23
            54.    The removal of each of the physical and policy barriers complained of
24
      by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
25
      achievable” under the standards of §12181 and §12182 of the ADA. Removal of
26
      each and every one of the architectural and/or policy barriers complained of herein
27
      was already required under California law. Further, on information and belief,
28

                                           COMPLAINT - 16
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 1    alterations, structural repairs or additions since January 26, 1993, have also
 2    independently triggered requirements for removal of barriers to access for disabled
 3    persons per §12183 of the ADA. In the event that removal of any barrier is found
 4    to be “not readily achievable,” Defendants still violated the ADA, per
 5    §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
 6    and accommodations through alternative methods that were “readily achievable.”
 7          55.    On information and belief, as of the date of Plaintiff’s encounter at the
 8    premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 9    physical premises have denied and continue to deny full and equal access to
10    Plaintiff and to other mobility disabled persons in other respects, which violate
11    Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
12    the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
13    enjoyment of the goods, services, facilities, privileges, advantages and
14    accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
15          56.    Defendants’ actions continue to deny Plaintiff’s rights to full and
16    equal access and discriminated and continue to discriminate against him on the
17    basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
18    enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
19    accommodations, in violation of the ADA, 42 U.S.C. §12182.
20          57.    Further, each and every violation of the Americans With Disabilities
21    Act of 1990 also constitutes a separate and distinct violation of California Civil
22    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
23    damages and injunctive relief pursuant to California law, including but not limited
24    to Civil Code §54.3 and §55.
25    //
26    //
27    //
28    //

                                           COMPLAINT - 17
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 1                              SECOND CAUSE OF ACTION
 2                           Violation of the Unruh Civil Rights Act
 3                             (California Civil Code §51, et seq.)
 4                                   (Against All Defendants)
 5           58.    Plaintiff alleges and incorporates by reference, as if fully set forth
 6    again herein, each and every allegation contained in all prior paragraphs of this
 7    complaint.
 8           59.    California Civil Code §51 provides that physically disabled persons
 9    are free and equal citizens of the state, regardless of their medical condition or
10    disability:
11           All persons within the jurisdiction of this state are free and equal, and
             no matter what their sex, race, color, religion, ancestry, national origin,
12
             disability, or medical condition are entitled to full and equal
13           accommodations, advantages, facilities, privileges, or services in all
             business establishments of every kind whatsoever.
14
15    California Civil Code §51(b) (emphasis added).
16           60.    California Civil Code §51.5 also states, in part: “No business,
17    establishment of any kind whatsoever shall discriminate against…any person in
18    this state on account” of their disability.
19           61.    California Civil Code §51(f) specifically incorporates (by reference)
20    an individual’s rights under the ADA into the Unruh Act.
21           62.    California Civil Code §52 provides that the discrimination by
22    Defendants against Plaintiff on the basis of his disability constitutes a violation of
23    the general antidiscrimination provisions of §51 and §52.
24           63.    Each of Defendants’ discriminatory acts or omissions constitutes a
25    separate and distinct violation of California Civil Code §52, which provides that:
26           Whoever denies, aids or incites a denial, or makes any discrimination
27           or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
             every offense for the actual damages, and any amount that may be
28           determined by a jury, or a court sitting without a jury, up to a maximum

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 1          of three times the amount of actual damage but in no case less than four
            thousand dollars ($4,000), and any attorney’s fees that may be
 2
            determined by the court in addition thereto, suffered by any person
 3          denied the rights provided in Section 51, 51.5, or 51.6.
 4
            64.    Any violation of the Americans with Disabilities Act of 1990
 5
      constitutes a violation of California Civil Code §51(f), thus independently
 6
      justifying an award of damages and injunctive relief pursuant to California law,
 7
      including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
 8
      individual under the Americans with Disabilities Act of 1990 (Public Law 101-
 9
      336) shall also constitute a violation of this section.”
10
            65.    The actions and omissions of Defendants as herein alleged constitute a
11
      denial of access to and use of the described public facilities by physically disabled
12
      persons within the meaning of California Civil Code §51 and §52.
13
            66.    The discriminatory denial of equal access to and use of the described
14
      public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
15
            67.    As a proximate result of Defendants’ action and omissions,
16
      Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
17
      §52, and are responsible for statutory, compensatory and actual damages to
18
      Plaintiff, according to proof.
19
                                       PRAYER FOR RELIEF
20
             Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
21
      forth in this Complaint. Plaintiff has suffered and will continue to suffer
22
      irreparable injury as a result of the unlawful acts, omissions, policies, and
23
      practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
24
      he requests. Plaintiff and Defendants have an actual controversy and opposing
25
      legal positions as to Defendants’ violations of the laws of the United States and
26
      the State of California.
27
28

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 1          The need for relief is critical because the civil rights at issue are paramount
 2    under the laws of the United States of America and the State of California.
 3          WHEREFORE, Plaintiff prays judgment against Defendants, and each of
 4    them, as follows:
 5               1.       Issue a preliminary and permanent injunction directing
 6         Defendants as current owners, operators, lessors, and/or lessees of the
 7         Subject Property and premises to modify the above described property,
 8         premises, policies and related facilities to provide full and equal access
 9         to all persons, including persons with physical disabilities; and issue a
10         preliminary and permanent injunction pursuant to ADA §12188(a) and
11         state law directing Defendants to provide facilities and services usable
12         by Plaintiff and similarly situated persons with disabilities, and which
13         provide full and equal access, as required by law, and to maintain such
14         accessible facilities once they are provided; to cease any discriminatory
15         policies; and to train Defendants’ employees and agents how to
16         recognize disabled persons and accommodate their rights and needs;
17               2.       Retain jurisdiction over the Defendants until such time as
18         the Court is satisfied that Defendants’ unlawful policies, practices, acts
19         and omissions, and maintenance of physically inaccessible public
20         facilities and policies as complained of herein no longer occur, and
21         cannot recur;
22               3.       Award to Plaintiff all appropriate damages, including but
23         not limited to actual and statutory damages according to proof;
24               4.       Award to Plaintiff all reasonable attorney fees, litigation
25         expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
26         California Civil Code §52; and
27               5.       Grant such other and further relief as this Court may deem
28         just and proper.

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 1
 2
      DATED: May 31, 2025                           VALENTI LAW APC
 3
 4                                            By: /s/ Matthew D. Valenti
 5                                                Matthew D. Valenti
 6                                                Attorney for Plaintiff
                                                  Ron Sarfaty
 7
 8
                                      JURY DEMAND
 9
10          Plaintiff hereby demands a trial by jury for all claims and issues for which a
11    jury is permitted.
12
13
14
      DATED: May 31, 2025                           VALENTI LAW APC
15
16                                            By: /s/ Matthew D. Valenti
17                                                Matthew D. Valenti
18                                                Attorney for Plaintiff
                                                  Ron Sarfaty
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